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       EXHIBIT
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                                 WEB FORENSICS
                                 I    N     S    T    A    N     T




                                     Mod. PO 13 A 01 EN vl


                                Methodological Report
                                 Instant Forensic Acquisition




                                            May 26, 2025




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                                                                                                    Kopjra Sri

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                                                                                                 VAT0.^-^04i^
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                                                                           1. Assignment
The company Kopjra Sri, with registered office in Via Rizzoii 1/2, 40125 Bologna, Italy, VAT number 03904120247 (hereafter referred to as ■Kopjra"), as per
the session of forensic acquisition run automatically with the aid of the SoaS (Software os a Service) Web Forensics Instant, hereby formulates a methodological
report to describe the technical rules, the processes adoptedand the resultsobtained.

This methodological report refers to the activity of forensic acquisition of digital evidence executed on 05/26/2025 at 5:36 AM UTC+0000 and with regard
to the URLs (Uniform Resource Locator) listed in the corresponding table in paragraph 4 (Detailed Information Summary on the Forensic Actions Carried Out).

The acquisition was carried out automatically with the aid of SaoS developed by Kopgra which allowrs the acquisition of digital evidence, that is to say any
content available on the Internet, through an automatically controlledweb browserrun in a forensicenvironment.The evidentiary value is ensured by the
methodology of acquisition, which follows dutifully the internationalstandardon forensicInformationTechnology ISO/IEC 27037:2017 ’Guidelines for
identification, collection, acquisition and preservation of digital evidence".

A summary of the acquisition, which includes, among other information, the SHA-256 fingerprints of all the files generated, is available in paragraph 4




                                                                         2. Methodology
The ISO/IEC 27037:2017 standard defines the guidelines for identification, collection, acquisition and preservation of digital evidence. This norm details how
to obtain digital elements with evidentiary value, which can be potentially admitted in court, and validates the four fundamental procedures specified above.
The acquisition process described hereunder is compliant to the ISO/IEC 27037:2017 as regards the acquisition and preservation stages.

In addition to ISO/IEC 27037:2017, the following guidelines have been taken into consideration:

    • Computer Security ond Incident Handling - NIST (National Institute of Standards and Technology), 2012;
    • Best Practicesfor Computer Forensics- SWGDE(Scientific Working Group on Distal Evidetwe), 2012;
    • Good Practice Guide for Digital Evidence - ACPO (Association of Chief Police Officers), 2012;
    • Cloud Computing Forensic Science Challenges-NIST, 2012.

The ISO/IEC 27037:2017 standard and the above mentioned guidelines represent the so-called "international best practices" which constitute the summary
of the methodological and technical rules that must be applied in the forensic practice, and are also quoted by the Italian law which ratifies the Budapest
Convention on Cybercrime (Law No. 48,18 March 2008), by the Italian Code of the Digital Administration (Codice dell'Amministrazione Digitale) and by the
elDAS (electronicIDentificationAuthenticationand Signature) Regulation. It is possible to consider the rules of authenticity and integrity of digital evidence
established by the best practices not as "simple practical instructions wNch bring no sanction, but as tangible implicit prohibitions guarded by the sanction of
inadmissibility" (Italian Supreme Court of Cassation. Section IV, Judgement No. 40903,28 June 2016).

This methodology involves the acquisition of all the data streams exchanged between the macNne that hosts the automatic web browser and the remote
servers, not only as regards the HTTP (Hypertext Transfer Protocol) protocol, but also with regard to the resolution of the domain names following the DNS
(Domain Name System) protocol.

For each relevant file, that is to say the PCAP file that corresponds to the acquired network traffic, the file which contains the SSL/TLS (Secure Sockets
Layer/Transport Loyer Security) traffic decryption keys, the MHTML file containing the page source together to all its resources, the WAC2 file (Web Archive
Collection Zipped), the viewport screenshot, as well as all the log files generated during the automatic session, a SHA-256 fingerprint is generated, and
exported on a corresponding timestamped and digitally signed XML file, making it possible, therefore, to state incontrovertiWy the conclusion of the
acquisition and its subsequent integrity.

The acquisition was carried out on a dedicated Docker container, autonomously managed and run on a managed cluster hosted on the Google Cloud Platform
(GCP) public cloud provider, based in Beigium (LIE), connected to the Internet via the provider's proprietary infrastructure.

The Docker conto/ner ran the Linux Debian 11 Buliseye Operating System. Into the Docker container image were installed a web browser, the tshark packet
sniffer, node and npm packets. The supplementary Software was installed through the official distribution channels.

The Docker container is connected to the Ethernet network of the Kubernetes Pod. which is connected with a bridge to the publicnetworkinterfaceof the node

into the Kubertenes cluster. At this stage, the connection is routed directly on the Internet through the virtual and physicalinfrastructureof GCP.

The security of the hardware and virtual infrastructure is ensured by the service provider, while the security of the application and of the environments is
ensured by the adoption of all industrial best practices available.

When starting the session of forensic acquisition, the application will run a script to verify the initial status of the environment and generate a log file. Thanks
to this script a set of different information will be retrieved, such as the details of the Docker container, epu, memory, network, disks, processes e and time
synchronization of the container. At this stage a time reference will also be obtained through the NTP (Network Time Protocol) protocol.

It is evident that through this methodology the authenticity and origin of the contents are secured. Moreover, the extraction of the contents which are the
subject of the investigation can be repeated at any time starting from the same network traffic acegjired.




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The files that constitute the digital evidence are preserved as objects in a versioning-enabled object store bucket. The final deletion of the object will occur
after 14 days from the appending of the delete mark.




                                                    3. Time Sequence and Description
Below are all the steps performed to construct the digital proof in chronological order, with the date and time (timestamp) of each.

      DATE AND TJME                                                                                          ACTION

OS/26/20250S.36.^L605UrC-K)000     Start of the proceedir^
05/26/202S05:36:41.^ UTC+OOOO Starting the network traffic scqusition          ffietiharkpocket
05/26/2025 0536:«^8 inc+oooo Starting the environment status check scr^
05/2S/2025 05.36:41.924 UTC+0000   Starting the neb browser automaticaHy and starting the W^Z file recording

OS/26/2025 0536:43.264 UTC-KHXM)   Navigating a neb page and corresportding screenshot generation and MHTML fife httpK//wwwi)bbjaig/articWscarra/20019- bbb-warTts-beware^f-memo
                                   ria{-day-scams?backurk=/uVnews
0S/26/202S 05:3651.S58 UTC+OOOO    End mg the recording of the WACZ file and closing the web browser
05/26/2025 053631359 UTC+OOOO      Ending the acqt^itionof the network ttafRc and fmafizing the AC4Pf^(d^^e«KN/ence copy)
05/26/2025 053631310 UTC+OOOO      Generation of theJfkftfitewfth its timestamp and d^tal signature, cortiainir^ the atA-ZSefHi^rprmtsofall tfreffestitat were collected and preserved
                                   Conchiaon of proceedings


The tshark packet sniffer generates in real time a PCAP file containing a raw representation of ail inbound and outbound data transmitted in the specific
network interface, starting from level 2 of the ISO/OS1 (Open Systems Interconnection) stack, as described in the ISO 7498-2:1989 "Security arcNtecture of
information processir^ systems" standard.




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                    4. Detailed Information Summary on Forensic Activities Performed

                                                    Summary Table of the Session of Forensic Acquisition
                         ID                                SESS         NAME                             DATE                    CON'AtNER         S        PUBLIC OUTBOUND IP
 a342^44-afde422a*bl79-bed9d914e4S5                  distant Forensics Acquisition         OS/26/2025 536 AM UTC-KIOOO        Unux Oebian 11 BuHseye     34.79.134.108



                                                                Summary table of the Docker container
                                         PROPERTY                                                                                         VALUE
 Un«|ue address to the Otxiker image used to create the envMomnent                             eu.gajo/kDpjfa/wf-<ore:v03i}
 SHA-256 fmgerprmt of *e Docker image used ot create the environment                           Cl981cb€elae86375846fdef36fb31bble57611cad2f2320^c6c9c0d8a2ee66


                                                                  Summary Table of the Identified URLs

 https;//vinivw.bbbj3rg/aiticf^sc3nv -          -wams-b<0W3re-of-mernonal-day-scams?b3ckud=/us,T>ews                                              OS/26/2025 536 AM UTC^OOOO


                                                                 Summary Table of the Generated Files
                 HE NAME                                                             SHA       6 FINGERPRINT                                                             TYPE
 acqiNsitioapcap                                                                                           »£-                     ?dcd                   I PCAP
 tnitiaBzatioak>g                                         476fe3fal9101e4b:             3b30c33a9af20a451bb3da430Sf4S124eebd7e5d4                          log
 nctwoikTrafRctog                                          180b265658ddea428c36fceb5a47947eal30a8ccad2df2bd99aad5e7fl5S^aT                                 log
 pagejmhtmi                                                8a5e6a3c30d2b9f82a80d325b4cffa4fa552f924731a911ffaf866183efll87e0a                             i Source and ersources
 pagavracz                                                 c4be4f3S432181664603f5ba2Q2I036210fa7cal58ac24176ltf7&9e4dc98773 2                             ! WACZ archive
 screenshotViewportjpg                                     dfe0Slad6480Sdelld7285402f74a8a0S897ed4f61f9635a2229bfdil5e6e2c€                               ; Screenshot

 ses^aiog                                                  59e031315121f2Se066eft>e455f94960e64eff417d60db012bd91ae054dOelc b                              U>g
 ssttccysioeys                                             2155f42d884ba8dddc0530d9®d3987900fb938bd773302i0fl3cffc7a9aaes0                                iKeys


These fifes are sorted and stored in a ZIP file. The list below provides a short description of each fife type:


    • PCAP: a PCAP file corre^rxhngot ote ne^ork traffic that was acquired, wtomatkally gerrerated durir^ ote session;
    • Keys; a file contaning the decryption keys of the SSI/TL5 traffic, automatically generated durir^ the sessiwt This file is necessary ot read the PCAP file:
    • Screenshot: JPG fik correspofKiing ot the viewport saeenshot automatically generated during the session;
    • Log: iqg file automaticaitygenerated durir^ the session;
    • Source and resouces: web           source file, in MHTML format with images, automatically captured during ote session;
    •   WACZ Archive: WACZ archive file (Web Archive Collection Zipped) cont^nir^ all resources erf the loaded vwb pige;

    • XML: an XML file containing all the SHA-256 fir^prints of all the previously described files, automatically generated at the end of the sessioa This file bea^s a
        timestamp and a distal ir^i^ure. conseepjentiy it can ensure a certified date, the integrity and the tamper-proof statiis of the digiteri evtdenccL




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                                     5. Viewport screenshots automatically generated



        BBB
                       Better Business Bureau                                                                         d Resources f<x


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     t&ID£ >               >
     > BBB Scam          T»i*s MemortaJ Day.    of scams targeting members of the military and cpjestionable ctuvtty appeals
                                                                                                                                  StW Need Asscstmtce?


     BBB Scam Alert: This Memorial Day, beware                                        snare fi x OS as d                          Contact Your Local BBB

     of scams targeting members of the military                                                                                   Your local Better Bu^ness Bureau can assist
                                                                                                                                  you with fifKting tMjsinesses you can tnist
     and questionable charity appeals                                                                                             Start With Trust* .
     By Better Business Bureau April 29. 202S                                                                                     Gerieral Inqoffies:
                                                                                                                                  •     Contact your local BBB
                                                                                                                                  '• bttps.//‘www.bbb.orgrt>t>b-cfjrectory




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                            6. Log File of the Forensic Acquisition Process Initialization
The term log is used to designate the sequentiai and chronological registry of the operations that have been executed by a user, an administrator or
automatically, on an application or a system.

The log file, also known as "Event Log", is the document on which these operations are saved and. in case it is necessary, accessed at a later time to analyse the
available information for the purposes of the verifiability of the process.

The log file pertaining to the forensic acquisition processinitializationcontainsa lot of informationon the initial status of the environment, such as the image
details of the Docker container, processor, memory, network, disks, processes and time synchronization of the container.

                 Starting Acquisition ttttlttett
 2»25-e5-26Te7:36r82:0e

 »•«*«**»«•      DOCKER DETAILS «««««#«<»

 DOCIH S echo SfOOCKERIMAGE.URL}
 eu.gcr,io/kopjra/wf-core:v0.3.0
 OOCHS $ echo ${D0CKERIHAGE_SHA256}
 cl981cbee1ae86375846fdef36fb31bb1e576ncad2r2320eSc6c9c0d8a2ee66
                 INSTANCE DETAILS ##########

 IMGID $ curl -sS -XGET -H "Metadata-Flavor: Google" http://169.254.169.254/cofnputeMetadata/v1/instance/image
 projects/gke-nade-inages/global/inages/gke-1317-gke12U^-cos-tl7- 18613-164-98-c-cgpvl-pre
 LOCIP $ curl -sS -XGET -H "Metadata-Flavor; Google" http;//169.254.169.254/coiiiputeHetadata/vl/instance/network-int erfaces/0/ip
 172.28.31.192

 PU8IP $ curl -sS -XffiT -H "Metadata-Flavor: Google" http://ie9.254.169.254/ccM^>uteMetadata/vl/instarH:e/network-int erfaces/0/access-configs/6/external-ip
 34.79.134.108

 MACAO i curl -sS -XGET -H "Metadata-Flavor: Google" http://169.254.169.254/coaputeHetadata/v1/instance/network-inter faces/0/Mac
 42:01;ac:lc;lf:c0

 INSID $ curl -sS -XGET -H "Metadata-Flavor: Google" http://169.254.169.254/computeMetadata/vl/instance/id
 9133418244871072840

 INSTY $ curl -sS -XGET -H "Metadata-Flavor; Google" http://169.254.169.254/computeMetadata/v1/instance/Bachine-type
 projects/258946861480/iiiachineTypes/n2-highmeni-2
 AVAZO $ curl -sS -XGET -H "Metadata-Flavor: Google" http://169.254.169.254/co«puteMetadata/v1/instance/zone
 projects/258946861488/zones/europe-«*est1-c
 ######«#«#      SYSTEM OVERVIEW       #####«#«#

 SYSOV J sudo       Ishw -short

 H/W path          Device   Class             Description


                            syst«D            Computer
 /0                         bus               Motherboard

 /0/0                                         166ie System memory
 /0/1                       processor         Intel(R) Xeon(R) CPU 0 2.80GHz
 /0/100                     bridge            440FX -       82441FX PMC [Natoma]
 /0/100/1                   bridge            82371AB/EB/MB PIIX4           ISA

 /0/100/1.3                 bridge            82371AB/Ee/HB PIIX4           ACPI
 /0/100/3                   generic           Virtio       SCSI

 /0/100/3/0                 generic           Virtual       I/O device
 /0/100/4                   netvfork          Virtio network device
 /0/100/4/0                 netnwrk           Virtual       I/O device

 /O/10e/5                   generic           Virtio       RNG

 /0/100/5/0                 generic           Virtual       I/O device
 /0/2                       system            PnP       device PNP0b80

 /0/3                       input             PnP       device PNP0303
 /0/4                       input             PnP       device PNP0fl3

 /0/5                       coMunication      PnP       device PW050I

 /0/6                       communication     PnP       device PNP0501

 /0/7                       coPNWjnication    PnP       device    PNP0501

 /0/8                       communication     PnP       device PNP0501

 /I                eth0     network           Ethernet       interface

                 RAM DETAILS ««###ffff»#«

 HENOR $ sudo Ishw -C memory
      ♦-memory

           description: System memory
           physical id: 0
           size:    16GiB

 unnnntn         cpu   details #########«

 CPUOT $ sudo Iscpu
 Architecture:                                      x86_64

 CPU op-mode(s):                                    32-bit, 64-bit
 8yte Order:                                        Little Endian
 Address    sizes:                                  46 bits physical, 48 bits virtual
 CPU(s);                                            2

 On-line CPU(s) list:




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    Thread(s) per core;                                          2

    Core(s) per socket:                                          1

    Socket(s):                                                   1

    NUHA node(s);                                                1

    Vendor ID:                                                   Genuineintel

    CPU family:                                                  6

    Model:                                                       85

    Model name:                                                  Intel(R) Xeon(R) CPU @ 2.80GHz
    Stepping:                                                    7

    CPU                                                          2800.190

    BogoMIPS:                                                    5600.38

    Hypervisor vendor:                                           KVH

    Virtualization type:                                         full
    Lid    cache:                                                32    KiB
    Lli    cache:                                                32    KiB

    L2    cache:                                                 1    HiB

    L3    cache;                                                 33    HiB

    NUHA nodeO CPUCs):
    Vulnerability Gather data sampling:                          Not affected

    Vulnerability Itlb niultihit:                                Not affected

    Vulnerability Lltf:                                          Not affected

    Vulnerability Hds:                                           Not    affected

    Vulnerability Meltdown:                                      Not affected

    Vulnerability Kaiio stale data:                              Vulnerable: Clear CPU buffers attempted, no microcode;                   SMT   Host state   unknown

    Vulnerability Reg file data sacpling: Not affected
    Vulnerability Retbleed:                                      Mitigation; Enhanced IBRS
    Vulnerability Spec rstack overflow:                          Not affected

    Vulner^ility Spec store bypass;                             Mitigation; Speculative Store Bypass disabled via prctl
    Vulnerability Spectre vl:                                    Mitigation; usercopy/swapgs barriers and                 user pointer sanitization
    Vulnerability Spectre v2:                                    Mitigation; Enhanced / Automatic IBRS; IBPB conditional; fiSB filling; PBRSB-elBRS SW sequence; BHI SW loop,    KVM SW

    Vulnerability Srbds:                                         Not affected

    Vulnerability Tsx async abort;                               Vulnerable; Clear CPU buffers attempted, no microcode;                   SMT Host state     unknown

    Flags:                                                       fpu vme de pse tsc msr pae mce cx8 apic sep mtrr pge mca cmov pat pse36 clflush tcmx fxsr sse sse2 ss ht syscall nx
,                    DISKS     DETAILS

    BLKDT S sudo          Isblk
    NAME       HAJ:MIN RM            SIZE   RO   TYPE       HOUNTPOINT

    sda             8:0        0     1086     0 disk

    I-sda1          8:1        9 95.86        0 part /etc/resolv.conf
    j-sda2          8:2        0      16M     0 part
    I-sda3          8:3        9       26     0 part
    !-sda4          8:4        0      16M     0 part
    !-sda5          8:5        0       26     0 part
    l-sda6          8:6        0     512B     0 part
    |-sda7          8:7        0     5128     0 part
    l-sdaB          8:8        0      16M     0 part
    |-sda9          8:9        0     512B     0 part
    l-sdalO         8:10       0     512B     0 part
    l-sdall         8; 11      0       8H     0 part
    •-sdal2         8:12       0      32H     0 part
    sdb             8:16       0      10G     e disk

    HODDT $ sudo df

    Filesystem               IK-falocks          Used Available Use% Mounted on

    overlay                   98831908      17910572          88904952       19%   /

    tmpfs                           65536                        65536        0%   /dev

    tmpfs                      8191668                        8191668        6% /sys/fs/cgroup
    /dev/sdal                 98831908      17910572         80904952        19% /etc/hosts

    shm                             65536               0        65536       0% /dev/shm

    tmpfs                      1572864              12         1572852        1%   /run/secrets/kubernetes.io/serviceaccount

    tmpfs                      8191668                  0     8191668        0% /proc/acpi
    tmpfs                      8191668                  0     8191668        0% /proc/scsi
    tmpfs                      8191668                  0     8191668        0% /sys/firmware
                     NETITORK       DETAILS

    NETV/0 $ sudo         Ishw -C network
         ♦-network

              description: Ethernet controller
              product: Virtio network device
              vendor: Red Hat, Inc.
              physical id: 4
              bus info: pci@000e:00:04.0
              version:        00

              width:        32 bits

              clock:        33HHz

              capabilities; bus_ciaster cap_list
              configuration: driver=virtio-pci latency=0
              resources: irq;10 ioport;cG00(size=64) memory:c0000000-c000007f
            ♦-virtiol       UNCLAIMED

                    description: Virtual I/O device
                    physical id: 0



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                bus    info:    virtioSl

                configuration: driver=virtio_net
     *-network

          description: Ethernet interface
          physical id:           1
          logical name: eth0
          serial:       da;69:c3:88:b3:55
          size:       lOGbit/s

          capabilities: ethernet physical
          configuration: autonegotiation=off broadcast=yes driver=veth driverversion=l .0 duplex=full ip=172.24.3,9 link=yes ii:ulticast=yes |X)rt=twisted pair
IFCON S sudo ifconfig -a
eth0: flags=4163<UP,BROADCAST,RUNNING,HULTICAST>                              mtu    1460

           inet 172-24.3.9               netniask 255.255.255.0          broadcast 172.24.3.255

           ether da:89;c3:08:b3:55                   txqueuelen 0       (Ethernet)
           RX packets 383564                 bytes 197373043 (188.2 HiB)
           RX errors 0               dropped 0      overruns 0       frame 0
           TX packets 422311                bytes 109623617 (104.5 HiB)
           TX errors 0               dropped 0 overruns 0           carrier 0        collisions       0

lo:    flags=73<UP,La>PBACK,RUNNING>                     mtu 65536
           inet       127.0.0.1         netraask 255.0.0.0

           loop        txqueuelen 1000              (Local Loopback)
           RX packets 17864                 bytes 82738634        (78.9 HiB)
           RX errors 0               dropped 0      overruns 0       frame 8
           TX packets 17864                 bytes 82738634        (78.9 HiB)
           TX errors 0               dropped 0 overruns 0          carrier 0         collisions       0

NETST $ sudo netstat -r
Kernel IP routing table
Destination              Gatev^ay                   Genmask              Flags         HSS Window             irtt Iface
default                  172.24.3.1                                      UG                 00                   0 eth0
172.24.3.0               172.24.3.1                 255.255.255.0        UG                 00                   0 eth0
172.24.3.1                                          255.255.255.255 UH                      0   0                0 ethO
HOSTS S sudo cat          /etc/hosts

U Kubernetes-managed hosts file.
127.0,0.1                locaihost
::1        localhost ip6-localhost ip6-loopback
fe00:;0 ip6-localnet
fe00;:0 ip6-nicastprefix
feO0;:l ip6-allnodes
feO0::2 ip6-allrouters
172.24.3.9               wf-core-wrk-prod-68c5ddd46f-lxftv
HYIPV S dig +short aryip.opendns.com @resolverl.opendns.com
34.79.134.108

OIGDT S dig a google.con
; «» DiG 9.16.S0'0ebian «» a google.com
;; global options: +cmd
;;    Got answer:
      -»HEADER«- opcode: QUERY, status: NOERROR, id: 34235
      flags: qr rd ra; QUERY; 1, ANSWER: 6, AUTHORITY: 0,                             ADDITIONAL:         1

      OPT PSEUOOSECTION:

; EONS: version: 0,             flags:;      udp:    512
      QUESTION SECTION;
;google.com.                                        IN        A

      ANSWER SECTION:

google.com.                            30           IN        A          64.233.166.139

google.com.                            30           IN        A          64.233.166.102

google.com.                            30           IN        A          64.233.166.100

google.com.                            30           IN        A          64.233.166.138

google.com.                            30           IN        A          64.233.166.101

google.com.                            39           IN        A          64.233.166.113

;; Query time:          10 msec
      SERVER:    172.28.0.10353(172.23.0.10)
      lYHEN: Hon May 26 05:36:47 UTC 2025
;; HSG SIZE           rcvd:    135
PIN6V S ping -c 5 google.com
PING google.com (64.233.166.139) 56(84) bytes of data.
64 bytes from wnj-in-fl39.lel00.net (64,233.166.139): icmp_seq=1 ttl=114 time=1.42 ms
64 bytes from wra-in-f139.lel00.net (64.233.166.139): icmp_seq=2 ttl=114 time=0.321
64 bytes from Vfm-ln-fl39.lel00.net (64.233.166.139): icrop_seq=3 ttl=n4 time=0.355 ms
64 bytes from wm-ln-fl39.le180.net (64.233.166.139):                                icrap_seq=4 ttl=n4 tiine=0.375 ms
64 bytes from wn-in-fl39.lelO0.net (64.233.166.139):                                ici-rp_seq=5 ttl=114 time=0.361           ms


— google.com ping statistics —
5 packets transmitted, 5 received, 0% packet loss,                             time    4044ms

rtt min/avg/raax/rodev = 8.321/0.566/1.420/0.427 ms
SSSflSSSJtSS OS        DETAILS

UNAME $ sudo uname -a

Linux w’f-core-wrk-prod-68c5ddd46f-lxftv 6.6.72+ 81 SMP PREEHPT.DYNAHIC Sun Mar 30 09:02:56 UTC 2025 x86_64                                      GNU/Linux

LSBRE S sudo lsb_release -a
No    LSB modules are available.




Mod.PO 13A01ENV1                                                                                Classification: Internal use - 05/26/2025                            -   8/11
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 Distributor       10:       Debian

 Description:                Debian GNU/Linux 11               (bullseye)
 Release:                    11

 Codenaaw:                   bullseye
                  PROCESS DETAILS

 PSAUX $ sudo ps -aux
 USER               PIO WrPU            XMEM       VSZ         RSS    TTY              STAT START      nm COMMAND

 root                                             2480        1408    ?                Ss    Hay24     0:00 /bin/sh -c Xvfb          :99 -screen 0 1280x800x16 & node dist/src/index.js
 root                    8        0.9    0.2    747692 47890          ?                SI    May24     0:00 Xvfb     :99   -screen   9 1280x800x16
 root                    9        8.0    3.2    134228852 526996             ?         SI    Hay24     2:59 node dist/src/index.js
 root               572           0.0    9.0     74496        3960    ?                Ss    May24     0:10 ntpd
 root              4676           2.3    0.8 352116       132509 ?                     SI    05:36     0:00 tshark -i eth0 -w /trap/tnv-9-iDu6f7yf2M9Y/acquisition.pcap -f not port 3389
 root              4696           0.1            17372        8704    ?                S     05:36     0:00 /usr/bin/dumpcap -n -i eth0 -f not port 3389 -Z               -» /t»p/t«p-9-iDu6f7yfZM9Y/acquis
 root              4697           0.1    0.9      3896        2944    ?                S     05:36     0:09 /bin/bash /app/dist/start.sh
 root              5057           0.0    0.0      8252        4736    ?                S     05:36     0:00 sudo ps -aux
 root              5058           0.0    0.0      6992        3072    ?                R     05:36     0:M ps -aux
                  TIME       DETAILS «**»*«*«««

 OATEV $ date

 Hon May 26 05:36:51 UTC 2025
 NTPQ1    $ sudo ntpq -c rv
 a$socid=9 status=0615 leap_none, sync_ntp,                                 1 event, clock_sync,
 version="ntpd 4.2.8p15@1.3728-0 Wed Sep 23 11:46:38 UTC 2020 (1)",
 processor="x86_64",                syste»="Linux/6.6.72+“, leap=09, stratuiii=3,
 precision=-24. root<ielay=5.948,                    rootdisp=7.579,                  refid=45.87.78. 35,
 reftiffie=ebde7c38.e8feb515                    Hon, Hay 26 2025                 5:35:52.910,
 cIock=ebde7c73.8b748ff8                   Mon. May 26 2625                 5:36:51.544, peer=35382, tc=6,
 mintc=3, offset=-l.154713, frequency=+0.000, sys_jitter=0.477688                                         ,




 clk_jitter=0.124. clk.wander=9.900.                           tai=37, leapsec=201701010000               ,




 explre=292512280000
 NTPQ2 $ sudo ntpq -pn
         reaote                         refid            St t when poll reach                  delay     offset     jitter


  0.debian.pool.n .POOL.                                 16 p                64

  1.debian.pool.n             .POOL.                     16 p                64

  2.debian.pool.n             .POOL.                     16 p                    64

  3.debian.pool.n             .POOL.                     16 p                64

 -195.13.1.153                10.0.0.5                    2    u     69      128       377    11.646     ♦1.033       0.327

 -44.31.68.23                 .GPS.                       1    u     95      128       377    26.112     -2.675       2.448

 *45.87.78.35                 244.220.219.218             2 u         59         64    377     5.323      -1.235      0.475
 -94.224.66.150               .PPS.                       1   u      119     128       177    12.805     -1.587       2.452

 +45.87.77.15                 109.68.160.223              2 u         10         64    377     6.133      -0.779

 ♦45,87.76.3                  244.220.219.218             2 u         39         64    377     5.271     -1.487       0.449




                                                                                      7. Log file of the packet sniffer

The log file of tshark packet sniffer - an open-source library designed to analyse the Internet protocols and their generated traffic - shows the number ot
packets that have been acquired and the ones that have been discarded due to network issues. This information can be verified by accessing and analysing the
PCAP file available inside the ZIP file that contains the digital evidence.


 Running as user "root" and group "root". This could be dangerous.
 Capturing on       'eth0’
 1885 packets captured




                                                                                                              8. Kopjra

Kopjra Sri is a cyber intelligence company specialized in online investigations, OSINT (Open Source Intelligence) and network forensics, ISO/IEC 27001:2013
and iSO/lEC 27037:2017 certified.


The company assists high-profile Italian and international clients in online intellectual and industrial property protection activities, also serving as CTP
(Technical Consultant of the Party) in multiple proceedings against big tech, social networks and technology platforms.

Founding partners Tommaso Grotto and Eng. Emanuele Casadio are editors and authors of numertxjs publications, in particular the volume The digital
evidence ('La prova digitale', Giuffri Francis Lefebvre, 2020). They are also adjunct professors at the University of Genoa at STELMILIT (School of
Telecommunications of the Italian Armed Forces), the University of Milan and the University of Padua. Eng. Emanuele Casadio. in 2020, Joined the Selected
Reserve pool of the Italian Carabinieri force.

Web Forensics and Web Forensics Instant technology solutionsare covered by trade secret and the latter also by the patent Process and system for automatic
forensic acquisition of web page content granted in Italy in 2024 and in the United States in 2025.


 Mod.PO13A0IENvl                                                                                     Classification; Internal use - 05/26/2025                                                     9/11
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                                                                                                                      On behalf of Kopjra Sri




                                                                                                                            KOPJRA.COn




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